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10
                          UNITED STATES DISTRICT COURT
11
                         NORTHERN DISTRICT OF CALIFORNIA
12
     RODERICK MAGADIA, individually              CASE NO. 5:17-cv-00062-LHK
13   and on behalf of all those similarly
     situated,                                   WALMART’S POST-TRIAL BRIEF
14

15                     Plaintiff,
           v.
16
     WAL-MART ASSOCIATES, INC. a
17
     Delaware corporation; WAL-MART
18   STORES, INC, a Delaware corporation;
     and DOES 1 through 50, inclusive,
19
                       Defendants.
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1                                     INTRODUCTION
2          Magadia cannot prevail at trial based on argument and allegation. He must
3    provide competent evidence. And he hasn’t. In fact, he admits that there is no evidence
4    that he “actually suffered an unlawful meal period exception.” TT. 582:6-10. That ends
5    the meal period premium claim.
6          Magadia’s wage statement claims also fail because Magadia did not prove that
7    Walmart knowingly and intentionally violated Labor Code section 226(e). To the
8    contrary, it is undisputed that Walmart’s approach is consistent with the California
9    Court of Appeal’s interpretation of Section 226(a). That’s hardly evidence of a “knowing
10   and intentional” violation. Magadia also failed to prove that he was harmed as a result
11   of receiving allegedly non-complaint wage statements. In fact, he said the exact
12   opposite—that he was not injured. TT 99:14-19. Nor is he aware of any class member
13   who suffered any injury. TT 98:15-99:1. These shortcomings sink the wage statement
14   claims. And because Magadia has not carried his burden for any of his underlying
15   claims, his derivative claims for PAGA penalties also fail.
16         Regardless, Magadia has not provided competent evidence to support any
17   monetary award. There is no evidence of the number of purported violations for any of
18   the various time periods, no evidence to show which class members would be entitled to
19   penalties, and no evidence to show what those penalties would be. This foundational
20   evidence is not optional. See Fed. R. Evid. 702. And because Magadia has failed to
21   provide it, the Court should not award any penalties or damages.
22                   THE MEAL PERIOD PREMIUM CLAIMS
23         An employer only owes a meal period premium under Section 226.7 if it fails to
24   provide an employee with an opportunity to take a proper meal period. See Brinker
25   Rest. Corp. v. Superior Court, 53 Cal.4th 1004, 1034 (2012). Thus, as a threshold
26   matter, Magadia was required to show that Walmart failed to provide him (and the
27   class) with an opportunity to take a legally compliant meal period. He never made that
28   showing. In fact, Plaintiffs’ counsel does not dispute that Magadia failed to provide any


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1    evidence that he (1) was unlawfully deprived of a meal break or (2) had any meal break
2    exceptions coded as 1, 5, or 12 (the exception codes that are supposedly relevant for
3    Plaintiffs’ claims). TT. 582:6-584:6. Without that evidence, the meal period premium
4    claim is dead. See Lierboe v. State Farm Mut. Auto. Ins. Co., 350 F.3d 1018, 1022 (9th
5    Cir. 2003) (vacating the district court’s certification of a stacking claim class because the
6    named plaintiff had no stacking claim, and as such, “she cannot represent others who
7    may have such a claim, and her bid to serve as a class representative must fail”).
8          Magadia’s claim also fails because he did not prove that Walmart denied anyone
9    the opportunity to take a meal break. In fact, Walmart undisputedly builds meal breaks
10   into each associate’s schedule. TT. 142:7-23, Exs. 4, 5. The only other evidence—that
11   Walmart asks associates to state whether they allege that a meal exception was
12   voluntary or involuntary, and that Walmart codes the associate’s response in its
13   Exception Management System—does not show that anyone was actually denied a meal
14   break. TT. 305:15-308:12, 309:10-19, 528:9-11. In fact, Walmart does not rely on the
15   meal exception codes to determine who is entitled to a meal period premium; Walmart
16   pays premiums for every exception, regardless of the reason (if any) that the associate
17   gives for the exception. TT. 311:13-24.
18         Because Magadia has failed to establish that he (or anyone else) was actually
19   denied a meal break, his meal period premium claim fails. As a result, his derivative
20   claims for Section 203 waiting time penalties and PAGA penalties also fail.
21                        THE WAGE STATEMENT CLAIMS
22         To prevail on a claim for penalties under Section 226(e), Magadia must prove
23   that (1) Walmart failed to furnish each class member with compliant wage statements;
24   (2) the failure to do so was “knowing and intentional”; and (3) class members suffered a
25   resulting injury. Dkt. No. 184 at 6; Dkt. 185 at 15; Dkt. 197 at 11.
26         Prior to trial, the Court held that (1) Walmart was required to issue a compliant
27   wage statement at the time of termination (issuing a bi-weekly statement was not
28   enough); and (2) Walmart’s description of its OVERTIME/INCT pay on its wage


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1    statements should include hours and rates from prior pay periods. Even if the Court
2    sticks with those conclusions, Magadia was still required to prove that Walmart
3    “knowing[ly] and intentional[ly]” violated the statute and that, as a result, Magadia and
4    the class were injured. Cal. Lab. Code § 226.
5          A.     “Knowing and intentional” means what it says.
6          Magadia urges the Court to conclude that any violation of section 226(a) is
7    knowing and intentional unless the error was something akin to a typo. This unnatural
8    construction renders “knowing and intentional” meaningless and violates one of the
9    first tenants of statutory construction: “a construction making some words surplusage
10   is to be avoided.” See Willner v. Manpower Inc., 35 F. Supp. 3d 1116, 1130-31 (N.D. Cal.
11   2014) (internal citations omitted).
12         Plaintiffs’ neutering of the “knowing and intentional” element is also inconsistent
13   with section 226(e)(3). That subsection authorizes courts assessing the “knowing and
14   intentional” question to consider whether the employer “has adopted and is in
15   compliance with a set of policies, procedures, and practices that fully comply with this
16   section.” Inviting courts to assess employer’s policies, procedures, and practices to
17   determine whether a violation is “knowing and intentional” confirms that “knowing and
18   intentional” does not mean anything-other-than-a-typo.
19         Indeed, because Section 203 and Section 226 both contain a scienter requirement
20   (“willfulness” and “knowing and intentional,” respectively), courts often treat both
21   standards the same and apply the same “good faith dispute” rule to both Section 226(e)
22   and Section 203.1 This does not mean that every defense is a “good faith defense.”
23

24   1 See, e.g., Apodaca v. Costco Wholesale Corp., No. CV12–5664 DSF (Ex), 2014 WL
     2533427, *3 (C.D. Cal. Jun. 5, 2014) (“[w]here an employer has a good faith belief that it
25   is not in violation of Section 226, any violation is not knowing and intentional”); Wright
     v. Adventures Rolling Cross Country, Inc., No. C-12-0982 EMC, 2013 WL 1758815, at *9
26   (N.D. Cal. Apr. 24, 2013) (“There is no dispute by the parties that there is a comparable
     good faith defense for § 226 which, similar to § 203, requires knowing and intentional
27   conduct.”); Villalpando v. Exel Direct Inc., No. 12-CV-04137-JCS, 2015 WL 5179486, at
     *37 (N.D. Cal. Sept. 3, 2015) (“The good faith defense that applies to claims under
28   section 203 also applies to Claims asserted under section 226.”); Guilfoyle v. Dollar Tree


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1    Defenses that “are unsupported by any evidence, are unreasonable, or are presented in
2    bad faith, will preclude a finding of a ‘good faith dispute.’” CCR tit. 8, § 13520.
3          The authorities Magadia relies upon stress that ignorance of the law is no
4    defense. That is consistent with the good faith dispute doctrine because ignorance of
5    the law is not a reasonable argument. And Walmart has never claimed ignorance of the
6    law. Rather, Walmart has shown—through its practices, policies, and procedures—that
7    it is aware of the law and that it deliberately and intentional tries to comply with the law.
8    See, e.g., TT. 148:21-152:7, Exs. 300-306; see also sections B. and C, infra.
9          Unlike every case that Plaintiff has cited to date, Walmart’s reading of the statute
10   is objectively reasonable because, as this Court has acknowledged, the California Court
11   of Appeal agrees with Walmart’s reading of the statute. See ECF No. 157 at 12 (citing
12   Canales v. Wells Fargo Bank, 23 Cal. App. 5th 1262, 1269-72 (2018)). None of the
13   authorities Magadia cites are similar.2 And this Court’s alternative interpretation does
14   not retroactively make Walmart’s reading of the statute a “knowing and intentional”
15   violation. See Cal. Code Regs. tit. 8, § 13520 (“The fact that a defense is ultimately
16   unsuccessful will not preclude a finding that a good faith dispute did exist.”). Adopting
17   such an approach would turn “knowing and intentional” on its head and improperly
18   penalize Walmart for an interpretation of the law for which Walmart lacked fair notice.
19   See F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012).
20         B.     Walmart acted in good faith to comply with section 226(a)(9).
21         Section 226(a)(9) requires wage statements to include “all applicable hourly rates
22   in effect during the pay period and the corresponding number of hours worked at each
23

24   Stores, Inc., No. 12-cv-00703- GEB-CKD, 2014 U.S. Dist. LEXIS 2207, *19 (E.D. Cal.
     Jan. 8, 2014) (same) (quoting Ricaldai v. US Investigations Servs., LLC, 878 F. Supp. 2d
25   1038, 1047 (C.D. Cal. 2012)); Woods v. Vector Mktg. Corp., 2015 WL 2453202, at *3
     (N.D. Cal. May 22, 2015) (Chen, J.) (collecting cases); Reber v. AIMCO/Bethesda
26   Holdings, Inc., 2008 WL 4384147, at *9 (C.D. Cal. Aug. 25, 2008); Amaral v. Cintas
     Corp. No. 2, 163 Cal. App. 4th 1157, 1194-96, 1201-04 (2008).
27
     2 See, e.g., Novoa v. Charter Commc’ns, LLC, 100 F. Supp. 3d 1013, 1029 (E.D. Cal.
28   2015) (employer’s position that Labor Code 226(a) did not require pay period start dates
     was unreasonable).

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1    hourly rate by the employee.” Cal. Lab. Code § 226(a)(9). In an effort to comply with this
2    requirement, Walmart’s wage statements list all hourly rates in effect during the
3    applicable pay period. TT. 162:21-164:19. Walmart did not believe that
4    OVERTIME/INCT pay fell within the scope of this requirement because it is an
5    incremental adjustment to overtime worked in prior pay periods “over the course of the
6    quarter” for which the MyShare incentive award was paid. TT. 158:8-24. The California
7    Court of Appeal reads the statute the same way. Fabio Canales et al. v. Wells Fargo
8    Bank, N.A., Case No. B276127 (2018) (Judicially Noticed by this court at ECF No. 157,
9    n. 1).
10            As further evidence of its good faith efforts, Walmart also informed all associates
11   that “Earned MyShare Incentive Awards will be included in the regular rate of pay when
12   calculating overtime for the incentive quarter.” See Ex. 125-7; TT. 159:4-160:9. As Mr.
13   Stokes explained, Walmart flags this for associates in its written MyShare Quarterly
14   Incentive Plan Program “to make sure the associates understand that the incentive
15   award is going to not only show as an incentive award but it’s also going to reflect in their
16   regular rate of pay, which also would reflect on any payments from -- for overtime.” TT.
17   159:4-160: 23.
18            Walmart also encourages associates to ask questions about the wage statements,
19   provides multiple avenues for associates to get answers to those questions, and makes all
20   wage statements and time punch details readily accessible. See TT. 154:15-156:8; Ex.
21   300-7; TT. 155:21-156: 8; 160:24-161: 6. Despite this, there is no evidence that
22   Magadia—or anyone else—ever asked a question about their wage statements or were
23   confused by the information contained on their wage statements. See Plaintiff’s
24   testimony at TT. 89:22-91:12, 98:18-20; see also Todd Stokes’ testimony at TT. 161:7-14.
25            C.    Walmart acted in good faith to comply with section 226(a)(6).
26            Section 226(a)(6) requires employers to provide compliant wage statements either
27   “semimonthly or at the time of each payment of wages.” Cal. Lab. Code § 226(a)(6).
28


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1          Walmart believed it complied with this requirement by providing biweekly wage
2    statements that undisputedly contain all the details required by Section 226(a). ECF
3    No. 176, at 8. As a courtesy, Walmart also provides terminated associates with a
4    Statement of Final Pay when issuing a final pay check. But Stokes explained that
5    Walmart did not consider the Statement of Final Pay a wages statement, which is why
6    it did not include pay periods: “It’s not a wage statement. It is a document that
7    confirms the amount of pay we are using the associate on their final day with the
8    company. The wage statement is issued with the payroll cycle, whenever that happens
9    after that termination.” TT. 169:18-25. Plaintiff has presented no evidence that
10   Walmart’s belief that issuing wage statements semi-monthly did not comply with
11   Section 226(a)(6).
12         Moreover, although the Statements of Final Pay do not have “pay period” start
13   and end dates (since they do not align with Walmart’s pay periods), associates receive,
14   at the time of termination, all the information that is needed to determine the start and
15   end dates applicable to their final paycheck. The Statement of Final Pay includes the
16   date of the time period applicable to the final paycheck. And it is common knowledge
17   that the start date of that time period is the pay period end date of the previous
18   paycheck. TT. 100-11-102:8; Ex. 17, 309-1, 309-2. Plus, Walmart’s practice is to
19   conduct an exit interview with all terminated associates (if available) to pay the
20   associate through the date of termination, confirm the accuracy of the amount of the
21   final paycheck (tell the associate he or she was paid through the date of termination),
22   explain the details of the Statement of Final Pay, and instruct the associate on how to
23   access their forthcoming final wage statements. TT. 165:16-167:5. Walmart then
24   issues all department associates a final wage statement. TT. 169:18-25; 375:5-18.
25         D.     Magadia has not established injury.
26         This case presents the extraordinary circumstance of a plaintiff who has
27   admitted on the stand that neither he nor any other class member (as far as he is
28   aware) suffered any harm. For example, he admitted that he (1) never discovered any


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1    time records or pay that were incorrect (TT. 89:19-21); (2) never had any questions
2    about what his wage statement meant or said (TT. 90:1-3); (3) is not aware of any
3    associate who was confused by any statement of pay (TT. 98:18-20); and (4) is not aware
4    of any Walmart associate whose wages were calculated incorrectly (TT. 98:24-99:4.).
5    And he denied any injury as a result of receiving allegedly non-complaint pay stubs:
6             Q. How have you been harmed by receiving the pay stubs that you received?
7             A. What do you mean “harmed”?
8             Q. Have you been injured in any way because of the pay stubs you received?

9             A. Oh. No. (TT. 99:14-19)
              ...
10
              Q. Were you injured in any way by receiving this statement of final pay
11
              without a start or end date?
12
              ...
13
              A. The witness: No, sir. 3 (TT. 104:2-7)
14

15        Plaintiff also wasn’t interested in any of the categories of information listed on
16   his wage statements (except his total pay). Indeed, Plaintiff testified that he doesn’t
17   have a general understanding of how overtime is calculated, and he never asked
18   any questions about it. TT. 90:19-91:15. He also never asked about the MyShare
19   incentive payment. TT. 91:18-20. In sum, Magadia’s evidence of harm was not
20   weak, vague, or contradicted—it was non-existent.
21        Magadia claims he doesn’t need to show any actual evidence of injury because
22   Labor Code § 226(e)(2)(B) states that a plaintiff is “deemed to suffer injury” if the
23   employer “fails to provide” the required wage-statement information. TT. 214:5:24,
24   209:9-13, 510:25-511:5. But that amendment “merely clarified the law” to recognize
25

26   3 Magadia’s admission that he has suffered no harm also deprives him of Article III
     standing. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016) (a statutory violation
27   alone is not enough to establish standing). Magadia was also required to show that the
     class suffered harm—something he also failed to do—because “no class may be certified
28   that contains members lacking Article III standing.” Mazza v. Am. Honda Motor Co.,
     666 F.3d 581, 594 (9th Cir. 2012).

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1    that the injury requirement was “minimal.” Novoa v. Charter Commc'ns, LLC, 100
2    F. Supp. 3d 1013, 1030 & n. 10 (E.D. Cal. 2015). “Minimal” does not mean
3    “nonexistent.”
4          Two cases from this year alone establish as much. In Suarez v. Bank of Am. Corp.,
5    2018 WL 3659302, at *12 (N.D. Cal. Aug. 2, 2018), Judge James found that a Section 226
6    plaintiff survived 12(b)(6) because she alleged that, as a result of the noncompliance, she
7    “could not determine whether they were paid properly and/or did not receive pay for all
8    hours worked, and thus suffered monetary damages due to Defendants’ policies.” Yet
9    Magadia conceded that he suffered no loss of money. TT. 89:19-21, 96:18-23, 99:17-19. In
10   Mie Yang v. Francesca’s Collections, Inc., 2018 WL 984637, at *7 (N.D. Cal. Feb. 20,
11   2018), Judge Gilliam dismissed a Section 226 claim because “[t]he injury requirement
12   cannot be satisfied simply because one of the nine itemized requirements in section
13   226(a) is missing from a wage statement. [A]n employee seeking to recover for wage
14   statement violations must demonstrate an injury arising from the missing
15   information…. [T]he deprivation of that information, standing alone, is not a
16   cognizable injury.” None of the cases even suggesting that injury is established by
17   noncompliance alone involved a plaintiff who had the benefit of trial yet failed to produce
18   evidence of harm. Trial—especially one where a plaintiff all but disclaims injury—
19   changes everything.
20         When asked about harm on the stand, his counsel objected that this called for a
21   “legal conclusion.” But as the Court explained, it was a factual question: “How else are
22   you going to show whether he’s been injured or not if he doesn’t testify to it?” TT. 99:23-
23   24. Magadia failed to answer the call, as to him or any class member. Walmart is
24   entitled to judgment on Magadia’s Section 226 claim.4
25

26   4 In the alternative, the Court should decertify the wage statement claims.  As
     Magadia’s trial testimony shows, determining whether someone was actually harmed
27   will inherently require individualized evidence as to the circumstances of every
     associate who received a wage statement in question. See, e.g., TT. 99:5-100:3 (because
28   Magadia did not present any evidence of harm, it was reasonable to ask him “whether
     he’s been injured or not.”)

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1                          THE PAGA CLAIMS ALSO FAIL
2          Under PAGA, only “aggrieved employees” may recover civil penalties for Labor
3    Code violations. Arias v. Superior Court, 46 Cal. 4th 969, 908 (2009); Cal. Lab. Code §
4    2699(c). With that, the California Supreme Court recognized that “PAGA imposes a
5    standing requirement; to bring an action, one must have suffered harm.” Williams v.
6    Super. Ct., 3 Cal. 5th 531, 558 (2017); see also Amalgamated Transit Union, Local 1756,
7    AFL-CIO v. Sup. Ct., 46 Cal. 4th 993, 1001 (2009) (PAGA “require[s] a plaintiff to have
8    suffered injury resulting from…violations of the Labor Code”).
9          Magadia’s PAGA claim seeks civil penalties for alleged violations of Labor Code
10   Sections 226 and 226.7. But as explained above, Magadia has no viable Labor Code
11   claim and, in particular, conceded that he has suffered no harm by any of the
12   complained-about practices. Without those predicate injuries to redress, Magadia “no
13   longer me[ets] the definition of ‘aggrieved employee’ under PAGA” and “d[oes] not have
14   standing to maintain a PAGA action against [Walmart].” Kim v. Reins Int’l Cal., Inc.,
15   18 Cal. App. 5th 1052, 1058 (2017), review granted, 413 P.3d 1132 (2018).
16         Neither Raines v. Coastal Pac. Food Distrib. Inc., 23 Cal. App. 5th 667 (2018) nor
17   Lopez v. Fraint & Assoc., LLC, 15 Cal. App. 5th 773 (2017) hold otherwise. Neither
18   decision “speak[s] to the issue of standing to bring a PAGA claim.” Raines, 23 Cal. App.
19   5th at 681. And those cases certainly do not involve the remarkable situation where a
20   plaintiff admits on the stand that he suffered no injury or harm as a result of the
21   complained-about practice. Rather, where a plaintiff lacks viable Labor Code claims or
22   injuries to redress, the plaintiff loses standing under PAGA. Kim, 18 Cal. App. 5th at
23   1058; Harris v. Best Buy Stores, L.P., 2018 WL 984220, at *11 (N.D. Cal. Feb. 20, 2018)
24   (“Considering the sweeping preclusive effect of PAGA…it would raise serious fairness
25

26

27

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1    and justiciability concerns to allow an employee to bind future individuals by asserting,
2    on a representative basis, a harm that she did not personally suffer”).5
3          As noted, Plaintiff’s failure to prove his claims or establish any injury destroys his
4    ability to assert that he is an “aggrieved employee” under PAGA. But even if Plaintiff
5    had proven that he was an aggrieved employee (he has not), no PAGA penalties should be
6    awarded because they would (1) constitute impermissible stacking with Labor Code
7    penalties, (2) be “unjust, arbitrary and oppressive, or confiscatory,” and (3) violate the
8    Due Process and Excessive Fines Clauses of the U.S. Constitution.
9          First, as this Court held in Guifu Li v. A Perfect Day Franchise, Inc., 2012 WL
10   2236752, at *17 (N.D. Cal. June 15, 2012) (Koh, J.), once a plaintiff “elect[s] to receive
11   penalties for [a defendant’s] failure to provide accurate wage statements in violation of
12   California Labor Code § 226 . . . granting PAGA penalties for failure to provide accurate
13   wage statements would be duplicative recovery.” Id; see also Tran v. Companion Med
14   Trans, LLC, 2016 WL 8925146, *8–9 (C.D. Cal. Jan. 25, 2016); Thurman v. Bayshore
15   Transit Mgmt., Inc., 203 Cal. App. 4th 1112, 1131 (2012).
16         Second, if the Court awards any PAGA penalties (it should not), the Court should
17   reduce the amount because, “based on the facts and circumstances of [this] particular
18   case, to do otherwise would result in an award that is unjust, arbitrary and oppressive,
19   or confiscatory.” Cal. Labor Code § 2699(e)(2). In reducing a PAGA award, courts
20   consider whether (1) the penalty is proportionate to actual damages, Amaral, 163 Cal.
21   App. 4th at 1214; (2) non-PAGA penalties may be awarded, Aguirre v. Genesis, 2013 WL
22   10936035, *3 (C.D. Cal. Dec. 30, 2013); and (3) a defendant acted willfully or in good
23   faith, Cotter v. Lyft, Inc., 193 F. Supp. 3d 1030, 1037 (N.D. Cal. 2016). Here, a PAGA
24   penalty in any amount would be wildly disproportionate to any actual harm. And any
25

26
     5 Fobroy v. Video Only, Inc., 2014 WL 6306708, at *5 (N.D. Cal. Nov. 14, 2014)
27   (dismissing PAGA claims once predicate claims dismissed); accord Williams, 3 Cal. 5th
     at 558; Shook v. Indian River Transp. Co., 716 F. App’x 589, 590 (9th Cir. 2018); Wentz
28   v. Taco Bell Corp., 2012 WL 6021367, at *5 (E.D. Cal. Dec. 4, 2012); Gofron v. Picsel
     Techs., Inc., 804 F. Supp. 2d 1030, 1043 (N.D. Cal. 2011).

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1    penalty would be particularly unjust because Walmart acted in good faith. See Cotter,
2    193 F. Supp. 3d at 1037. Walmart is aware of no court that has ever awarded a PAGA
3    penalty that comes anywhere close to what Magadia is seeking. This case should not
4    break the records. See Serrano v. Swissport NA., Inc., 2013 WL 12145614, at *6 (C.D.
5    Cal. June 3, 2013) ($5.6 million PAGA penalty award was “oppressive and confiscatory”
6    where claims involved a “technical defect in . . . wage statements”).
7          Third, California’s authority to impose “statutory penalties”—including penalties
8    under PAGA—is limited “by the due process clauses of the federal and state
9    Constitutions.” Home Depot U.S.A., Inc. v. Super. Ct., 191 Cal. App. 4th 210, 225 (2010)
10   (analyzing PAGA section 2699(f)). Awarding PAGA penalties here would violate due
11   process and the Excessive Fines Clause because the penalty does not have “a nexus to
12   the specific harm suffered by” Magadia. E.g., State Farm Mut. Auto. Ins. Co. v.
13   Campbell, 538 U.S. 408, 422 (2003); United States v. Citrin, 972 F.2d 1044, 1051 (9th
14   Cir. 1992); United States v. Bajakajian, 524 U.S. 321, 337–39 (1998).
15         In addition, no penalties should be awarded for the period before October 4, 2016
16   TT. 61:1-5, the date of Plaintiff’s LWDA notice. This is so because PAGA provides that
17   an allegedly aggrieved employee must provide the LWDA notice of “[Labor Code]
18   provisions alleged to have been violated.” Cal. Lab. Code § 2699.3(a) (emphasis
19   added). Therefore, by its own terms, PAGA limits the scope of the LWDA notice—and
20   thus the allegedly aggrieved employee’s PAGA enforcement action—to past violations of
21   which the LWDA has been provided notice. The DLSE has endorsed this retrospective
22   nature and scope of notices to the LWDA. See Request for Judicial Notice, Ex. A at 7;
23   see also Ex. B at 24.
24                      MAGADIA’S EVIDENCE DOES NOT
25                      SUPPORT ANY MONETARY AWARD
26         Magadia’s claim for penalties and damages rests solely on the Dr. Kriegler’s expert
27   report. But Dr. Kriegler’s report fails to include the basic facts and data that support his
28   opinion, as required by Fed. R. Civ. P. 26(a)(2)(B)(ii). In short, he failed to show his


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1    work. And when “a party fails to provide information . . . as required by Rule 26(a) . . .
2    the party is not allowed to use that information or witness to supply evidence.” Fed. R.
3    Civ. P. 37(c)(1); Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
4    Cir. 2001). Moreover, competent evidence was necessary for Magadia to prove his
5    entitlement to damages. Tourgeman v. Nelson & Kennard, 900 F.3d 1105, 1109 (9th
6    Cir. 2018) (It is “one of the most basic propositions of law ... that the plaintiff bears the
7    burden of proving his case, including the amount of damages.”) (citations omitted); see
8    also Lumens Co. v. GoEco LED LLC, No. SACV1401286CJCDFMX, 2018 WL 1942768,
9    at *5–6 (C.D. Cal. Jan. 3, 2018) (concluding that “any attempt by a trier of fact to award
10   damages on this record would be impermissibly speculative” and stating that “the
11   opinions are conclusory” and do not provide “the facts, data, or principles applied to that
12   data to support their damages calculations – all of which are required under Federal
13   Rule of Evidence 702”); Gen. Elec. Co. v. Joiner, 522 U.S. 136, 145-46 (1997)
14   (reaffirming district court discretion to exclude inadequately supported expert opinion).
15         Here, Dr. Kriegler’s conclusions regarding potential damage and penalties are
16   virtually useless because Kriegler (admittedly) does not show the number of violations
17   for any of categories, does not identify the number of associates that fall into any of the
18   various damages/penalty buckets, and does not provide any data that would allow the
19   Court to determine the penalties or damages attributable to any class member. TT.
20   483:17-485: 2; TT. 485:3-486:8. In fact, Dr. Kriegler said the only way to determine the
21   number of violations is “by running the code.” TT. 491:13-21. But that information is
22   nowhere to be found in his report: “[The] code generates the number of violations and
23   the number of people that -- they’re not listed in my expert report, but they are part of
24   my computational programs.” TT. 491:8-11. (emphasis added.)
25         But Dr. Kriegler’s computational program is not part of the record. And even if it
26   were, the code itself does not show either the number of violations or employees
27   included in the damages calculations. It would need to be run to generate any of that
28   information. When asked at trial if the code showed the number of violations, Dr.


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1    Kriegler explained: “If you look at the code you can’t see the dollar amounts, either.
2    That’s not what code is used for.” TT. 491:13-21. But it is not the Court’s role to fill in
3    the gaps of an expert report “by running the code.” This is why raw code also cannot be
4    used as the basis for a damages award.
5          Dr. Kriegler also admitted that he did not personally write the code, that he is
6    not an expert in coding, and that he does not know exactly how the results of his coding
7    were validated. TT. 486:9-487:19, 489:4-490:9, 491:4-12. At the time of his deposition,
8    he was only aware of who might have done the auditing of the data by looking at time
9    records. TT. 487:25-488:25. And at trial, he admitted that he recently learned of at
10   least one error in his computations. TT. 451:17-452:4, 497:14-20. Because he does not
11   show his work, it’s impossible to tell how many additional errors exist.
12         Looking closer at his testimony only reveals bigger holes. For example, when
13   calculating waiting time penalties, Dr. Kriegler fails to identify any of the basic
14   elements that would support his calculations. He does not identify which class
15   members are supposedly entitled to the penalties, the amount of money they were
16   supposedly owed, the date it was supposedly due, or any other foundational facts. This
17   makes his numbers impossible to verify, meaningfully discuss, or rely upon. But the
18   limited information he did provide shows that his calculations are also wrong. For
19   example, he assumed that every associate worked exactly 8 hours per day, despite
20   knowing that this assumption was wrong. TT. 494:12-495:5.
21         Dr. Kriegler also claimed to have calculated pre-judgment interest, but it is
22   unknown (even to Dr. Kriegler himself) what computation period was used. TT. 491:22-
23   494:6. When asked if he was relying on the pay period (as stated in his expert report),
24   he said: “I think we used the payroll run date.” TT. 493:2-9. But he was just guessing:
25   “I believe it was the payroll run date. It was not the end of the pay period. It was
26   sometime after that, either the payroll run rate or the—and I believed it was the payroll
27   run date.” TT. 492:17-22.
28


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1           These same type of problems infect every aspect of Dr. Kriegler’s report. As a
2    result, the Court cannot reasonably rely upon any of his conclusions. And because there
3    is no other evidence that can support any penalties or damages, the Court should
4    decline to award any monetary relief. See Fed. R. Civ. P. 26(a)(2)(B)(ii); Fed. R. Civ. P.
5    37(c)(1); Yeti by Molly, 259 F.3d at 1106.
6                                        CONCLUSION
7           For the foregoing reasons, the Court should enter judgment on the merits in
8    favor of Walmart on all claims or award no damages. In the alternative, the Court
9    should decertify the classes and dismiss the claims because Magadia lacks standing.
10

11   DATED: December 7, 2018                            DUANE MORRIS LLP
12                                            By: /s/ Aaron T. Winn

13                                                Aaron T. Winn
                                                  Natalie F. Hrubos
14                                                Attorneys for Walmart
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